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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

PERKINS COIE LLP,

                   Plaintiff,                         Civil Action No. 1:25-cv-00716-BAH
       v.

U.S. DEPARTMENT OF JUSTICE,                           CONSENT MOTION OF 346 FORMER
FEDERAL COMMUNICATIONS                                JUDGES FOR LEAVE TO FILE BRIEF
COMMISSION, OFFICE OF                                 AS AMICI CURIAE IN SUPPORT OF
MANAGEMENT AND BUDGET, EQUAL                          PLAINTIFF’S MOTION FOR
EMPLOYMENT OPPORTUNITY                                SUMMARY JUDGMENT
COMMISSION, OFFICE OF PERSONNEL
MANAGEMENT, GENERAL SERVICES
ADMINISTRATION, OFFICE OF THE
DIRECTOR OF NATIONAL
INTELLIGENCE, THE UNITED STATES OF
AMERICA, and in their official capacities,
PAMELA J. BONDI, BRENDAN CARR,
RUSSELL T. VOUGHT, ANDREA R.
LUCAS, CHARLES EZELL, STEPHEN
EHEKIAN, and TULSI GABBARD,

                   Defendants.



       The 346 retired federal and state court judges whose names are listed in Exhibit A

respectfully move this Court for leave to file the brief attached as Exhibit B as amici curiae in

support of Plaintiff’s motion for summary judgment. See D.D.C. Local Civ. R. 7(o)(2). Amici

submit this brief to address the risk that Executive Order 14230 poses to the effective

administration of justice and to the rule of law. Plaintiff and Defendants have both stated that they

have no objection to this motion.

                                    Interest of the Amici Curiae

       Amici have dedicated their working lives to the rule of law. They have extensive experience

with adjudication as a means of resolving disputes, and they know from experience that litigation
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conducted by zealous and ethical advocates, and presided over by neutral and independent judges,

is an indispensable element of the rule of law. Amici’s views on political and social issues vary,

but they agree with Chief Justice Roberts that judges “don’t work as Democrats or Republicans.” 1

       Amici share an interest in ensuring both the substance and the appearance of justice in the

adjudication of disputes. This requires—always—preserving the freedom of lawyers to advocate

for their clients with candor and with zeal, thus providing judges with the complete legal and

factual record needed for fair adjudication. To the same end, amici share an interest in preserving

the discretion judges need to regulate the conduct of lawyers who appear before them.

                        Reasons why the brief of amici curiae should be filed

       The only person to serve as both President and Chief Justice of the United States rightly

stated that “our courts, as they are now conducted, and our profession, which is the handmaid of

justice, are necessarily so bound together in our judicial system that an attack upon the courts is

an attack upon our profession, and an attack upon our profession is equally an attack upon the

courts.” William Howard Taft, ETHICS IN SERVICE 1 (1915). Amici provide the perspective of

former judicial officers with a wide range of views and experience. No party adequately represents

that viewpoint, and none can draw upon amici’s collective experience in presiding over judicial

proceedings at the trial and appellate levels in identifying the flaws in Executive Order 14230,

captioned “Addressing Risks From Perkins Coie LLP” (the “Order”), or the institutional harms

that Order threatens.

       Amici’s proposed brief explains that the Order undermines the rule of law by threatening

the independence of lawyers and litigants to petition courts to redress their grievances. In



1
 Adam Liptak, John Roberts, Leader of Supreme Court’s Conservative Majority, Fights
Perception That It Is Partisan, New York Times (Dec. 23, 2018),
https://www.nytimes.com/2018/12/23/us/politics/chief-justice-john-roberts-supreme-court.html.



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particular, the Order imposes political restrictions—and viewpoint-based sanctions—not only on

lawyers who assert disfavored positions, but on their clients in unrelated proceedings. By

restricting the range of permissible legal argument and constraining the professional independence

of counsel, the Order undermines the constitutional role of the courts as independent forums for

adjudicating disputes. In addition, the Order threatens the ability of an independent judiciary to

regulate the conduct of lawyers who appear in court, substituting post hoc penalties imposed by

the Executive Branch. Finally, the Order promotes unwarranted hostility toward the process of

adjudication and, by implication, the judicial officers who oversee it.

       The proposed brief thus addresses several of the core issues raised by Plaintiff’s motion

and will assist the Court in reaching the correct disposition.

       Amici acknowledge and draw the Court’s attention to Boumediene v. Bush, 476 F.3d 934

(D.C. Cir. 2006), which—over Judge Rogers’ dissent—denied a motion for leave to file an amicus

brief on behalf of retired federal jurists. The per curiam opinion referenced an Advisory Opinion

from the Committee on Codes of Conduct, Judicial Conference of the United States. As noted in

dissent, that Opinion pertained to judges acting as counsel rather than amici. And as the Fifth

Circuit noted in Lefebure v. D’Aquilla, 15 F.4th 670 (2021), 15 F.4th 670 (2021), departing from

the D.C. Circuit’s decision, the Supreme Court accepted an amicus brief on behalf of retired judges

in its review of the D.C. Circuit decision, and both the Supreme Court and the D.C. Circuit have

done so thereafter:

       [I]in the wake of Boumediene, the Supreme Court not only continues to accept

       amicus briefs filed by retired federal judges, but even quotes them from time to

       time in judicial opinions. See, e.g., Terry v. United States, ––– U.S. ––––, 141 S.

       Ct. 1858, 1868, 210 L.Ed.2d 108 (2021) (Sotomayor, J., concurring in part and




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        concurring in the judgment) (quoting amicus brief of retired federal judges);

        California Public Employees’ Retirement System v. ANZ Securities, Inc., ––– U.S.

        ––––, 137 S. Ct. 2042, 2058, 198 L.Ed.2d 584 (2017) (Ginsburg, J., dissenting)

        (same); Aurelius Capital Management, L.P. v. Tribune Media Co., 577 U.S. 1230,

        136 S.Ct. 1459, 194 L.Ed.2d 575 (2016) (granting leave to former federal judges to

        file brief as amici); Hamdan v. Rumsfeld, 546 U.S. 1166, 126 S.Ct. 1317, 164

        L.Ed.2d 45 (2006) (same).

                 In fact, the Supreme Court accepted an amicus brief from a group of former

        federal judges in Boumediene itself. See Boumediene v. Bush, 553 U.S. 723, 731

        n.†, 128 S.Ct. 2229, 171 L.Ed.2d 41 (2008) (listing amicus brief of former federal

        judges). Even the D.C. Circuit on various occasions has accepted amicus briefs

        from former federal judges, notwithstanding its earlier decision in Boumediene.

        See, e.g., In re Flynn, 961 F.3d 1215, 1219 (D.C. Cir. 2020) (listing amicus brief of

        former federal district judges); In re Leopold, 964 F.3d 1121, 1123 (D.C. Cir. 2020)

        (listing amicus brief of former federal magistrate judges).

15 F.4th at 672-673.

        The Supreme Court continues to accept amicus briefs including retired judges, including

those among the amici in this case. See Smith v. Boeing (23-2358) 2; Trump v. Anderson, No. No.

23-719. 3 Amici therefore submit that the Circuit opinion in Boumediene is not an impediment to

filing of this brief.




2
  https://www.supremecourt.gov/DocketPDF/24/24-
849/352002/20250312185237848_Smith_Amicus%20Brief_file.pdf
3
  https://www.supremecourt.gov/DocketPDF/23/23-719/299107/20240129171610494_23-
719_Amici%20Brief.pdf



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       No party’s counsel authored this motion or the proposed brief in whole or in part; no party

or party’s counsel contributed money that was intended to fund preparing or submitting the brief;

and no person—other than the amici curiae or their counsel—contributed money that was intended

to fund preparing or submitting the brief. See D.D.C. Local Civil Rule 7(o)(5) (incorporating Fed.

R. App. P. 29(a)(4)).

                                           Conclusion

       The motion for leave to file the proposed brief of amici curiae should be granted.

       RESPECTFULLY SUBMITTED this 4th day of April, 2025.

                                             /s/ Donald Falk
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                                             Oakland, CA 94618
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                                             /s/ Sara Kropf
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                                             1100 H Street, NW, Suite 1220
                                             Washington DC 20005
                                             E: sara@kmlawfirm.com
                                             T: 202-627-6900




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 4, 2025, I electronically filed the original of this motion

with the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all

attorneys of record by operation of the Court’s electronic filing system.


                                              /s/ Sara Kropf
                                              Sara Kropf




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                                           EXHIBIT A

1.    Judge Verna S. Adams,
      California Superior Court, Marin County (Ret.)

2.    Judge Patricia Aitken,
      Washington Superior Court, King County (Ret.)

3.    Judge Elsa Alcala,
      Texas Court of Criminal Appeals (Ret.)

4.    Judge Lesley A. Allan,
      Washington Superior Court, Chelan County (Ret.)

5.    Judge Lisa Van Amburg,
      Missouri Eastern District Court of Appeals (Ret.)

6.    Chief Justice Jeffrey L. Amestoy,
      Vermont Supreme Court (Ret.)

7.    Judge Elaine M. Andrews,
      Alaska Superior Court, Third District (Ret.)

8.    Judge Beth Andrus,
      Washington Superior Court, King County (Ret.)

9.    Judge Marlin J. Appelwick,
      Washington State Court of Appeals, Division I (Ret.)

10.   Judge Stephanie A. Arend,
      Washington Superior Court, Pierce County (Ret.)

11.   Associate Justice Richard M. Aronson,
      California Court of Appeal, Fourth District (Ret.)

12.   Judge Sharon S. Armstrong,
      Washington Superior Court, King County (Ret.)

13.   Judge Nancy J. Arnold,
      Illinois Circuit Court, Cook County (Ret.)

14.   Magistrate Judge Mark E. Aspey,
      United States District Court, District of Arizona (Ret.)

15.   Judge Steven K. Austin,
      California Superior Court, Contra Costa County (Ret.)




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16.   Judge Monica Bachner,
      California Superior Court, County of Los Angeles (Ret.)

17.   Chief Justice W. Scott Bales,
      Arizona Supreme Court (Ret.)

18.   Judge Barry Baskin,
      California Superior Court, Contra Costa County (Ret.)

19.   Judge Paul A. Bastine,
      Washington Superior Court, Spokane County (Ret.)

20.   Chief Judge Mary Kay Becker,
      Washington State Court of Appeals, Division One (Ret.)

21.   Judge Martha Beckwith,
      Alaska State District Court (Ret.)

22.   Justice William Bedsworth,
      California Court of Appeal, Fourth District (Ret.)

23.   Justice Gina Benavides,
      Texas Thirteenth Court of Appeals (Ret.)

24.   Chief Justice Rebecca White Berch,
      Arizona Supreme Court (Ret.)

25.   Judge Aviva K. Bobb,
      California Superior Court, County of Los Angeles (Ret.)

26.   Associate Justice Margot Botsford,
      Massachusetts Supreme Judicial Court (Ret.)

27.   Magistrate Judge E. Thomas Boyle,
      United States District Court, Eastern District of New York (Ret.)

28.   Justice Richard F. Braun,
      New York Supreme Court, New York County (Ret.)

29.   Associate Justice Bobbe Bridge,
      Washington Supreme Court (Ret.)

30.   Judge Harold M. Brown,
      Alaska Superior Court, Third District (Ret.)

31.   Magistrate Judge Geraldine Soat Brown,
      United States District Court, Northern District of Illinois (Ret.)




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32.   Associate Justice Brian L. Burgess,
      Vermont Supreme Court (Ret.)

33.   Judge A. Franklin Burgess, Jr.,
      Superior Court, District of Columbia (Ret.)

34.   Magistrate Judge Michelle Burns,
      United States District Court, District of Arizona (Ret.)

35.   Frederick H. Bysshe, Jr.,
      California Superior Court, Ventura County (Ret.)

36.   Judge Regina S. Cahan,
      Washington Superior Court, King County (Ret.)

37.   Judge William Cahill,
      California Superior Court, County of San Francisco (Ret.)

38.   Chief Justice Walter L. Carpeneti,
      Supreme Court of Alaska (Ret.)

39.   Judge Wynne S. Carvill,
      California Superior Court, Alameda County (Ret.)

40.   Judge Paula Casey,
      Washington Superior Court, Thurston County (Ret.)

41.   Judge Ronald L. Castleberry,
      Washington Superior Court, Snohomish County (Ret.)

42.   Judge Patrick A. Cathcart,
      California Superior Court, County of Los Angeles (Ret.)

43.   Judge Katherine Chilton,
      California Superior Court, County of Los Angeles (Ret.)

44.   Judge Vickie I. Churchill,
      Washington Superior Court, Island County (Ret.)

45.   Judge Robert James Cindrich,
      United States District Court, Western District of Pennsylvania (Ret.)

46.   Judge Harold D. Clark III,
      Washington Superior Court, Spokane County (Ret.)

47.   Judge U. W. Clemon,
      United States District Court, Northern District of Alabama (Ret.)




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48.   Judge Harriett M. Cody,
      Washington Superior Court, King County (Ret.)

49.   Judge Isabel R. Cohen,
      California Superior Court, County of Los Angeles (Ret.)

50.   Judge Bruce W. Cohoe,
      Washington Superior Court, Pierce County (Ret.)

51.   Acting Justice Ellen M. Coin,
      New York Supreme Court, New York County (Ret.)

52.   Judge Scott Collier,
      Washington Superior Court, Clark County (Ret.)

53.   Judge Patricia A. Collins,
      Alaska Superior Court, First District (Ret.)

54.   Judge Karen Conoley,
      Washington Superior Court, Kitsap County (Ret.)

55.   Chief Justice Dori Contreras,
      Texas Thirteenth District Court of Appeals (Ret.)

56.   Judge Ronald E. Cox,
      Washington State Court of Appeals (Ret.)

57.   Senior Associate Justice Stephen G. Crane,
      New York Supreme Court, New York County (Ret.)

58.   Judge James Crockett,
      United States District Court, District of Nevada (Ret.)

59.   Judge Denise Navarre Cubbon,
      Court of Common Pleas, Juvenile Division, Lucas County, Ohio (Ret.)

60.   Judge Ron Culpepper,
      Washington Superior Court, Pierce County (Ret.)

61.   Justice Brian S. Currey,
      California Court of Appeals, Second Appellate District (Ret.)

62.   Judge Beverly W. Cutler,
      Alaska State Superior Court, Third District (Ret.)

63.   Judge Frank E. Cuthbertson,
      Washington Superior Court, Pierce County (Ret.)




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64.   Justice Carolyn Demarest,
      New York Supreme Court, Kings County (Ret.)

65.   Magistrate Judge Morton Denlow,
      United States District Court, Northern District of Illinois (Ret.)

66.   Chief Justice Laura Denvir Stith,
      Supreme Court of Missouri (Ret.)

67.   Magistrate Judge Michael Dolinger,
      United States District Court, Southern District of New York (Ret.)

68.   Justice Robert L. Dondero,
      California Court of Appeal, First Appellate District (Ret.)

69.   Judge Faye D’Opal,
      California Superior Court, Marin County (Ret.)

70.   Judge Barbara A. Dortch-Okara,
      Massachusetts Superior Court (Ret.)

71.   Judge Michael Downes,
      Washington Superior Court, Snohomish County (Ret.)

72.   Presiding Disciplinary Judge Margaret H. Downie,
      Arizona Court of Appeals (Ret.)

73.   Judge William L. Downing,
      Washington Superior Court, King County (Ret.)

74.   Judge Theresa Doyle,
      Washington Superior Court, King County (Ret.)

75.   Judge David R. Draper,
      Washington Superior Court, Lewis County (Ret.)

76.   Judge Roger W. DuBrock,
      Alaska State Superior Court, First District (Ret.)

77.   Judge Bonnie Dumanis,
      California Superior Court, San Diego County (Ret.)

78.   Judge Sally Duncan,
      Arizona Superior Court (Ret.)

79.   Magistrate Judge David Duncan,
      United States District Court, District of Arizona (Ret.)




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80.   Judge Lynn Duryee,
      California Superior Court, Marin County (Ret.)

81.   Judge Tari S. Eitzen,
      Washington Superior Court, Spokane County (Ret.)

82.   Justice Betty Weinberg Ellerin,
      New York State Supreme Court Appellate Division, First Department (Ret.)

83.   Judge Janice E. Ellis,
      Washington Superior Court, Snohomish County (Ret.)

84.   Chief Judge Philip Espinosa,
      Arizona Court of Appeals (Ret.)

85.   Judge John P. Erlick,
      Washington Superior Court, King County (Ret.)

86.   Justice Saralee Evans,
      New York Supreme Court, New York County (Ret.)

87.   Magistrate Judge John M. Facciola,
      United States District Court, District of Columbia (Ret.)

88.   Judge Ellen J. Fair,
      Washington Superior Court, Snohomish County (Ret.)

89.   Judge Douglas J. Fair,
      Washington Superior Court, Snohomish County (Ret.)

90.   Judge Gary A. Feess,
      United States District Court, Central District of California (Ret.)

91.   Chief Justice Stanley G. Feldman,
      Arizona Supreme Court (Ret.)

92.   Judge Thomas J. Felnagle,
      Washington Superior Court, Pierce County (Ret)

93.   Judge Noel Fidel,
      Arizona Court of Appeals (Ret.)

94.   Judge Deborah Fleck,
      Washington Superior Court, King County (Ret.)

95.   Judge Lisa Daniel Flores,
      Arizona Superior Court, Maricopa County (Ret.)




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96.   Judge Jeremy D. Fogel,
      United States District Court, Northern District of California (Ret.)

97.   Judge Michael J. Fox,
      Washington Superior Court, King County (Ret.)

98.   Judge George Finkle,
      Washington Superior Court, King County (Ret.)

99.   Magistrate Judge James C. Francis IV,
      United States District Court, Southern District of New York (Ret.)

100. Judge David Frazier,
     Washington Superior Court, Whitman County (Ret.)

101. Associate Justice Helen Freedman,
     New York Supreme Court, Appellate Division (Ret.)

102. Judge Robert B. Freedman,
     California Superior Court, Alameda County (Ret.)

103. Chief Justice Stanley G. Feldman,
     Arizona Supreme Court (Ret.)

104. Judge Edward Fleisher,
     Washington Court of Appeals, Division Two (Ret.)

105. Judge Francisco Firmat,
     California Superior Court, Orange County (Ret.)

106. Justice Marcy Friedman,
     New York Supreme Court, New York County (Ret.)

107. Judge Terry Friedman,
     California Superior Court, County of Los Angeles (Ret.)

108. Judge Kenneth Fields,
     Arizona Superior Court, Maricopa County (Ret.)

109. Judge Julia L. Garratt,
     Washington Superior Court, King County (Ret.)

110. Judge Deborra Garrett,
     Washington Superior Court, Whatcom County (Ret.)

111. Judge David George,
     Alaska Superior Court, First District (Ret.)




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112. Judge Rudolph J. Gerber,
     Arizona Court of Appeals (Ret.)

113. Judge Timothy C. Gerking,
     Circuit Court of Oregon, Jackson County (Ret.)

114. Judge Nancy Gertner,
     United States District Court, District of Massachusetts (Ret.)

115. Judge Harvey Giss,
     California Superior Court, County of Los Angeles (Ret.)

116. Magistrate Judge Marilyn Go,
     United States District Court, Eastern District of New York (Ret.)

117. Magistrate Judge Steven M. Gold,
     United States District Court, Eastern District of New York (Ret.)

118. Judge A. Benjamin Goldgar,
     United States Bankruptcy Court, Northern District of Illinois (Ret.)

119. Chief Judge Irma E. Gonzalez,
     United States District Court, Southern District of California (Ret.)

120. Justice Emily Jane Goodman,
     New York State Supreme Court, New York County (Ret.)

121. Judge Dianna Gould-Saltman,
     California Superior Court, County of Los Angeles (Ret.)

122. Judge Ernestine S. Gray,
     Orleans Parish Juvenile Court (Ret.)

123. Judge Karen F. Green,
     Massachusetts Superior Court (Ret.)

124. Chief Justice Mark V. Green,
     Massachusetts Appeals Court (Ret.)

125. Judge Paul W. Grimm,
     United States District Court, District of Maryland (Ret.)

126. Judge Andrew Guilford,
     United States District Court, Central District of California (Ret.)

127. Judge Ina Gyemant,
     California Superior Court, County of San Francisco (Ret.)




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128. Judge Laura W. Halgren,
     California Superior Court, San Diego County (Ret.)

129. Associate Justice L. Priscilla Hall,
     New York Supreme Court, Appellate Division, Second Department (Ret.)

130. Judge Howard Lee Halm,
     California Superior Court, County of Los Angeles (Ret.)

131. Judge Brenda Harbin-Forte,
     California Superior Court, Alameda County (Ret)

132. Judge Michael Hayden,
     Washington Superior Court, King County (Ret.)

133. Judge Michael Heavey,
     Washington Superior Court, King County (Ret.)

134. Judge Brook Hedge,
     Superior Court, District of Columbia (Ret.)

135. Judge Thelton E. Henderson,
     United States District Court, Northern District of California (Ret.)

136. Judge Bethany G. Hicks,
     Arizona Superior Court, Maricopa County (Ret.)

137. Justice Gary Hicks,
     New Hampshire Supreme Court (Ret.)

138. Judge Joe W. Hilberman,
     California Superior Court, County of Los Angeles (Ret.)

139. Judge Bruce Hilyer,
     Washington Superior Court, King County (Ret.)

140. Associate Justice Geraldine S. Hines,
     Massachusetts Supreme Judicial Court (Ret.)

141. Judge Margaret R. Hinkle,
     Massachusetts Superior Court (Ret.)

142. Judge Anne Hirsch,
     Washington Superior Court, Thurston County (Ret.)

143. Judge Vicki L. Hogan,
     Washington Superior Court, Pierce County (Ret.)




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144. Judge Amy D. Hogue,
     California Superior Court, County of Los Angeles (Ret.)

145. Judge Sven Erik Holmes,
     United States District Court, Northern District of Oklahoma (Ret.)

146. Judge Richard J. Holwell,
     United States District Court, Southern District of New York (Ret.)

147. Judge Joseph W. Howard,
     Arizona Court of Appeals, Division Two (Ret.)

148. Justice Robin Hudson,
     Supreme Court of North Carolina (Ret.)

149. Judge J. Robin Hunt,
     Washington Court of Appeals, Division Two (Ret.)

150. Justice Raymond J. Ikola,
     California Court of Appeal, Fourth Appellate District (Ret.)

151. Judge Laura Inveen,
     Washington Superior Court, King County (Ret.)

152. Justice Faith Ireland,
     Washington State Supreme Court (Ret.)

153. Judge Patrick Irvine,
     Arizona Court of Appeals, Division One (Ret.)

154. Judge Susan E. Isacoff,
     California Superior Court, County of Los Angeles (Ret.)

155. Justice Melissa C. Jackson,
     New York Supreme Court, New York County (Ret.)

156. Magistrate Judge Maria-Elena James,
     United States District Court, Northern District of California (Ret.)

157. Justice Barbara Jaffe,
     New York Supreme Court, New York County (Ret.)

158. Judge D. Lowell Jensen,
     United States District Court, Northern District of California (Ret.)

159. Judge Barbara D. Johnson,
     Washington Superior Court, Clark County (Ret.)




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160. Justice Earl Johnson,
     California Court of Appeals, Second Appellate District (Ret.)

161. Judge Ann I. Jones,
     California Superior Court, County of Los Angeles (Ret.)

162. Chief Judge John Jones,
     United States District Court, Middle District of Pennsylvania (Ret.)

163. Associate Justice Marcy L. Kahn,
     New York Supreme Court, Appellate Division (Ret.)

164. Senior Judge Henry Kantor,
     Oregon Circuit Court, Multnomah County (Ret.)

165. Magistrate Judge Theodore H. Katz,
     United States District Court, Southern District of New York (Ret.)

166. Judge Stephen Kaus,
     California Superior Court, County of Alameda (Ret.)

167. Judge Ann O’Regan Keary,
     Superior Court, District of Columbia (Ret.)

168. Judge Gregory Keosian,
     California Superior Court, County of Los Angeles (Ret.)

169. Judge Donn Kessler,
     Arizona Court of Appeals (Ret.)

170. Judge Ronald Kessler,
     Washington Superior Court, King County (Ret.)

171. Judge Steven J. Kleifield,
     California Superior Court, County of Los Angeles (Ret.)

172. Judge Andrew G. Klein,
     Arizona Superior Court, Maricopa County (Ret.)

173. Judge Clifford L. Klein,
     California Superior Court, County of Los Angeles (Ret.)

174. Judge James P. Kleinberg,
     California Superior Court, County of Santa Clara (Ret.)

175. Justice Shirley Werner Kornreich,
     New York Supreme Court, New York County (Ret.)




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176. Judge Kevin M. Korsmo,
     Washington Court of Appeals, Division III (Ret.)

177. Judge Diane M. Kottmyer,
     Massachusetts Superior Court (Ret.)

178. Judge Linda C. Krese,
     Washington Superior Court, Snohomish County (Ret.)

179. Judge Michael S. Kupersmith,
     Vermont Superior Court (Ret.)

180. Judge David A. Kurtz,
     Washington Superior Court, Snohomish County (Ret.)

181. Associate Justice James R. Lambden,
     California Court of Appeal, First Appellate District (Ret.)

182. Judge Leslie G. Landau,
     California Superior Court, Contra Costa County (Ret.)

183. Judge Harriet Lansing,
     Minnesota Court of Appeals (Ret.)

184. Magistrate Judge Elizabeth D. Laporte,
     United States District Court, Northern District of California (Ret.)

185. Magistrate Judge James Larson,
     United States District Court, Northern District of California (Ret.)

186. Judge Michael Latin,
     California Superior Court, County of Los Angeles (Ret.)

187. Judge James W. Lawler,
     Washington Superior Court, Lewis County (Ret.)

188. Judge Linda Lau,
     Washington Court of Appeals, Division One (Ret.)

189. Judge J. Kathleen Learned,
     Washington Superior Court, King County (Ret.)

190. Judge Steve Leben,
     Kansas Court of Appeals (Ret.)

191. Judge Richard A. Levie,
     Superior Court, District of Columbia (Ret.)




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192. Judge Keith B. Levy,
     Alaska Superior Court, First District (Ret.)

193. Judge Michael Linfield,
     California Superior Court, County of Los Angeles (Ret.)

194. Judge John W. Lohrmann,
     Washington Superior Court, Walla Walla County (Ret.)

195. Judge Jose M. Lopez,
     Superior Court, District of Columbia (Ret.)

196. Judge Susan Lopez-Giss,
     California Superior Court, County of Los Angeles (Ret.)

197. Judge Jackson Lucky,
     California Superior Court, Riverside County (Ret.)

198. Judge J. Michael Luttig,
     United States Court of Appeals, Fourth Circuit (Ret.)

199. Judge Richard Lyman,
     California Superior Court, County of Los Angeles (Ret.)

200. Magistrate Judge Frank Maas,
     United States District Court, Southern District of New York (Ret.)

201. Judge Barbara Mack,
     Washington Superior Court, King County (Ret.)

202. Justice Joan Madden,
     New York Supreme Court, New York County (Ret.)

203. Judge Bonnie MacLeod,
     Superior Court, Commonwealth of Massachusetts (Ret.)

204. Judge Judith Macaluso,
     Superior Court, District of Columbia (Ret.)

205. Judge Barbara Mack,
     Washington Superior Court, King County (Ret.)

206. Judge Patrick Mahoney,
     California Superior Court, County of San Francisco (Ret.)

207. Judge M. Kathleen Manley,
     Vermont Superior Court (Ret.)




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208. Chief Magistrate Judge Roanne L. Mann,
     United States District Court, Eastern District of New York (Ret.)

209. Judge Linda S. Marks,
     California Superior Court, County of Los Angeles (Ret.)

210. Judge Marc Marmaro,
     California Superior Court, County of Los Angeles (Ret.)

211. Judge Susan Finlay Marrinan,
     California Superior Court, San Diego County (Ret.)

212. Justice Mary Anne Mason,
     Illinois Appellate Court, First District (Ret.)

213. Judge A. Howard Matz,
     United States District Court, Central District of California (Ret.)

214. Justice Angela M. Mazzarelli,
     New York Supreme Court, Appellate Division (Ret.)

215. Justice Mary McGowan Davis,
     New York Supreme Court, New York County (Ret.)

216. Chief Justice Ruth McGregor,
     Arizona Supreme Court (Ret.)

217. Judge James F. McHugh,
     Massachusetts Appeals Court (Ret.)

218. Judge Larry E. McKeeman,
     Washington Superior Court, Snohomish County (Ret.)

219. Judge E. Anne McKinsey,
     Fourth Judicial District, Minnesota (Ret.)

220. Judge Thomas McPhee,
     Washington Superior Court, Thurston County (Ret.)

221. Justice Chuck McRae,
     Mississippi Supreme Court (Ret.)

222. Judge Christopher Melly,
     Washington Superior Court, Clallam County (Ret.)

223. Judge Louis James Menendez,
     Alaska Superior Court, First District (Ret.)




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224. Judge John M. Meyer,
     Washington Superior Court, Skagit County (Ret.)

225. Judge Bruce E. Meyerson,
     Arizona Court of Appeals (Ret.)

226. Judge Paul R. Michel,
     United States Court of Appeals, Federal Circuit (Ret.)

227. Judge Laura Gene Middaugh,
     Washington Superior Court, King County (Ret.)

228. Judge Stephen Milliken,
     Superior Court, District of Columbia (Ret.)

229. Judge Rita Miller,
     California Superior Court, County of Los Angeles (Ret.)

230. Judge Leila Mills,
     Washington Superior Court, Kitsap County (Ret.)

231. Judge Walter M. Morris, Jr.,
     Vermont Superior Court (Ret.)

232. Justice Karla Moskowitz,
     New York Supreme Court, Appellate Division (Ret.)

233. Judge John M. Mott,
     Superior Court, District of Columbia (Ret.)

234. Judge Diana Gribbon Motz,
     United States Court of Appeals for the Fourth Circuit (Ret.)

235. Justice Mary Muehlen Maring,
     North Dakota Supreme Court (Ret.)

236. Judge Karen A. Mullins,
     Arizona Superior Court, Maricopa County (Ret.)

237. Judge Thomas G. Nave,
     Alaska Superior Court, First District (Ret.)

238. Judge Kathryn J. Nelson,
     Washington Superior Court, Pierce County (Ret.)

239. Judge Leslie C. Nichols,
     California Superior Court, County of Santa Clara (Ret.)




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240. Judge William Ward Nooter,
     Superior Court, District of Columbia (Ret.)

241. Judge Patricia K. Norris,
     Arizona Court of Appeals (Ret.)

242. Judge Rita M. Novak,
     Circuit Court, Cook County, Illinois (Ret.)

243. Justice Michael J. Obus,
     New York Supreme Court, New York County (Ret.)

244. Judge Kathleen M. O’Connor,
     Washington Superior Court, Spokane County (Ret.)

245. Judge Margaret L. Oldendorf,
     California Superior Court, County of Los Angeles (Ret.)

246. Judge Rafael Ongkeko,
     California Superior Court, County of Los Angeles (Ret.)

247. Judge Kathleen M. O’Malley,
     United States Court of Appeals, Federal Circuit (Ret.)

248. Magistrate Judge James Orenstein,
     United States District Court, Eastern District of New York (Ret.)

249. Judge James Orlando,
     Washington Superior Court, Pierce County (Ret.)

250. Judge Patricia A. Orozco,
     Arizona Court of Appeals (Ret.)

251. Judge Gary Oxenhandler,
     Missouri Circuit Court (Ret.)

252. Judge Philip Pallenberg,
     Alaska Superior Court, First District (Ret.)

253. Judge Cecil Patterson,
     Arizona Court of Appeals (Ret.)

254. Justice John Pelander,
     Arizona Supreme Court (Ret.)

255. Justice Dennis Perluss,
     California Court of Appeal, Second Appellate District (Ret.)




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256. Judge Victor H. Persón
     California Superior Court, County of Los Angeles (Ret.)

257. Judge Layn R. Phillips,
     United States District Court, Western District of Oklahoma (Ret.)

258. Judge Dean B. Pineles,
     Vermont District Court (Ret.)

259. Judge Burt Pines,
     California Superior Court, County of Los Angeles (Ret.)

260. Magistrate Judge Henry Pitman,
     United States District Court, Southern District of New York (Ret.)

261. Magistrate Judge Viktor Pohorelsky,
     United States District Court, Eastern District of New York (Ret.)

262. Justice M. Carol Pope,
     Illinois Appellate Court, Fourth District (Ret.)

263. Judge Maurice Portley,
     Arizona Court of Appeals (Ret.)

264. Judge Stephen M. Pulido,
     California Superior Court, Alameda County (Ret.)

265. Judge Linda B. Quinn,
     California Superior Court, San Diego County (Ret.)

266. Judge Jeffrey M. Ramsdell,
     Washington Superior Court, King County (Ret.)

267. Judge Judith H. Ramseyer,
     Washington Superior Court, King County (Ret.)

268. Judge Ronald Reinstein,
     Arizona Superior Court, Maricopa County (Ret.)

269. Judge Judith E. Retchin,
     District of Columbia Superior Court (Ret.)

270. Justice Rosalyn Richter,
     New York Supreme Court, Appellate Division, First Department (Ret.)

271. Justice Maria Rivera,
     California Court of Appeal, First Appellate District (Ret.)




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272. Justice Nelda Rodriguez,
     Thirteenth Court of Appeals in Texas (Ret.)

273. Judge Palmer Robinson,
     Washington Superior Court, King County (Ret.)

274. Judge Erik Rohrer,
     Washington Superior Court, Clallam County (Ret.)

275. Judge Jay B. Roof,
     Washington Superior Court, Kitsap County (Ret.)

276. Judge John Romero,
     New Mexico District Court, Bernalillo County (Ret.)

277. Judge David A. Rosen,
     California Superior Court, County of Los Angeles (Ret.)

278. Judge Michelle R. Rosenblatt,
     California Superior Court, County of Los Angeles (Ret.)

279. Chief Justice Barbara J. Rouse,
     Massachusetts Superior Court (Ret.)

280. Judge Judith M. Ryan,
     California Superior Court, Orange County (Ret.)

281. Judge Glenda Sanders,
     California Superior Court, Orange County (Ret.)

282. Judge Carol Schapira,
     Washington Superior Court, King County (Ret.)

283. Judge Shira A. Scheindlin,
     United States District Court, Southern District of New York (Ret.)

284. Justice Alice Schlesinger,
     New York Supreme Court, New York County (Ret.)

285. Judge Ann Schindler,
     Washington Court of Appeals, Division I (Ret.)

286. Judge Barry C. Schneider,
     Arizona Superior Court, Maricopa County (Ret.)

287. Judge Karen G. Seinfeld,
     Washington State Court of Appeals, Division Two (Ret.)




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288. Judge Susan K. Serko,
     Washington Superior Court, Pierce County (Ret.)

289. Judge Hon. Margaret Seymour,
     United States District Court, District of South Carolina (Ret.)

290. Judge Catherine Shaffer,
     Washington Superior Court, King County (Ret.)

291. Judge Booker T. Shaw,
     Missouri Court of Appeals (Ret.)

292. Judge Nan R. Shuker,
     Superior Court, District of Columbia (Ret.)

293. Justice Jacqueline W. Silbermann,
     New York Supreme Court, New York County (Ret.)

294. Judge B. Scott Silverman,
     California Superior Court, County of Los Angeles (Ret.)

295. Judge T. W. Small,
     Washington Superior Court, Chelan County (Ret.)

296. Judge Fern M. Smith,
     United States District Court, Northern District of California (Ret.)

297. Judge James Smith,
     Arizona Superior Court, Maricopa County (Ret.)

298. Judge Winifred Y. Smith,
     California Superior Court, Alameda County (Ret.)

299. Judge Charles R. Snyder,
     Washington Superior Court, Whatcom County (Ret.)

300. Justice Michael R. Sonberg,
     New York Supreme Court, New York County (Ret.)

301. Justice Sheila Sonenshine,
     California Court of Appeal, Fourth District (Ret.)

302. Judge Stephanie Sontag,
     California Superior Court, San Diego County (Ret.)

303. Judge Michael S. Spearman,
     Washington State Court of Appeals (Ret.)




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304. Judge Julie Spector,
     Washington Superior Court, King County (Ret.)

305. Judge Marjorie Steinberg,
     California Superior Court, County of Los Angeles (Ret.)

306. Judge Michael L. Stern,
     California Superior Court, County of Los Angeles (Ret.)

307. Judge John K. Stewart,
     California Superior Court, County of San Francisco (Ret.)

308. Judge James B. Sult,
     Arizona Court of Appeals, Division One (Ret.)

309. Judge Paul Suzuki,
     California Superior Court, County of Los Angeles (Ret.)

310. Chief Judge Peter B. Swann,
     Arizona Court of Appeals, Division One (Ret.)

311. Judge Dennis J. Sweeney,
     Washington State Court of Appeals, Division Three (Ret.)

312. Judge S. Brooke Taylor,
     Washington Superior Court, Clallam County (Ret.)

313. Judge Carolyn Engel Temin,
     Court of Common Pleas, 1st Judicial District of Pennsylvania (Ret.)

314. Chief Judge Philip E. Toci,
     Arizona Court of Appeals, Division One (Ret.)

315. Judge Helen M. Toor,
     Vermont Superior Court (Ret.)

316. Judge Fred Torrisi,
     Alaska Superior Court, First District (Ret.)

317. Judge Michael J. Trickey,
     Washington Superior Court and Court of Appeals, Div. I (Ret.)

318. Judge Kitty-Ann van Doorninck,
     Washington Superior Court, Pierce County (Ret.)

319. Judge Thomas I. Vanaskie,
     United State Court of Appeals, Third Circuit (Ret.)




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320. Judge Arthur W. Verharen,
     Washington Superior Court, Pierce County (Ret.)

321. Justice Miriam A. Vogel,
     California Court of Appeal, Second Appellate District (Ret.)

322. Judge Vaughn R. Walker,
     United States District Court, Northern District of California (Ret.)

323. Judge Art Wang,
     Washington State Court of Appeals (Ret.)

324. Judge Steve Warning,
     Washington Superior Court, Cowlitz County (Ret.)

325. Judge Anthony P. Wartnik,
     Washington Superior Court, King County (Ret.)

326. Judge Eugene R. Wedoff,
     United States Bankruptcy Court, Northern District of Illinois (Ret.)

327. Judge Kerry Wells,
     California Superior Court, San Diego County (Ret.)

328. Judge John P. Wesley,
     Vermont Superior Court (Ret.)

329. Chief Justice Michael A. Wolff,
     Missouri Supreme Court (Ret.)

330. Judge Beverly K. Wood,
     California Superior Court, Marin County (Ret.)

331. Judge Margie G. Woods,
     California Superior Court, San Diego County (Ret.)

332. Judge Elizabeth Allen White,
     California Superior Court, County of Los Angeles (Ret.)

333. Judge Vanessa H. White,
     Alaska Superior Court, Third District (Ret.)

334. Judge Jay V. White,
     Washington Superior Court, King County (Ret.)

335. Judge H. Christopher Wickham,
     Washington Superior Court, Thurston County (Ret.)




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336. Justice Thomas L. Willhite, Jr.,
     California Court of Appeal, Second Appellate District (Ret.)

337. Judge Ken Williams,
     Washington Superior Court, Clallam County (Ret.)

338. Judge Jeffrey Winikow,
     California Superior Court, County of Los Angeles (Ret.)

339. Judge Lawrence F. Winthrop,
     Arizona Court of Appeals, Division One (Ret.)

340. Judge Thomas J. Wynne,
     Washington Superior Court, Snohomish County (Ret.)

341. Senior Justice Reyna Yanez,
     Texas Thirteenth District Court of Appeals (Ret.)

342. Justice Laurie Zelon,
     California Court of Appeal, Second Appellate District (Ret.)

343. Judge Larry Zervos,
     Alaska Superior Court, Fourth District (Ret.)

344. Justice Michael D. Zimmerman,
     Utah Supreme Court (Ret.)

345. Justice Thomas A. Zlakat,
     Arizona Supreme Court (Ret.)

346. Associate Justice Hiller B. Zobel,
     Superior Court of Massachusetts (Ret.)




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